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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

WHAM-O HOLDING, LTD. and
INTERSPORT CORP. d/b/a WHAM-O,

        Plaintiffs,                                            Case No.: 18-cv-5878

v.                                                             Judge Robert W. Gettleman

THE PARTNERSHIPS AND UNINCORPORATED                            Magistrate Judge Mary M. Rowland
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.

                                   NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiffs hereby file this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) on Schedule A, with leave to

reinstate within ninety (90) days if the agreed settlement payment is not received. After ninety

(90) days, the dismissal is with prejudice.

               NO.                                   DEFENDANT
               344                                  gaoyuanyuangao
               353                                      guiliana
               376                                      huapenga
               377                                     huapengd
               378                                    huapengstore
               448                                    liuyuxuan95.
               556                                     sanglixiang
               567                        ShangHai H&Q Technology Co.,Ltd
               568                            shanghai shanming trading Ltd
               571                             shanming trading company
               622                                      tangleib
               623                                      tangleic
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        626                                   taojijitao
        660                                 wangying000
        678                                WMCHENNUO
        687                                wutongshu518
        729                                     yjde
        743                          z15839202769@163.com
        754                                   zhao9b
        363                                  heshengjia
        282                                  dcshop01
        241                                  BI Surpass
        722                                   Yepark
        714                                     yada
        187                                 18939401239
        521                                   pianzhao
        470                                    Maxjo
        226                                   basking
        723                                     yf02
        342                               FWELL TRADING
         23                                richmotors2016
         34                                 anybestbuy
        117                    Shanghai Growing Industries Co., Ltd.
        118                  Shanghai Homepower Industries Co., Ltd.
        718                                  Yanwen59
        362                                  hellohorse
         4                                     avarsia
         5                                     bbttu1
         9                                     eastar4
         16                                    ilooke
         21                                    nitto1
         28                                    Uccgg

                                      2
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              833                                  Top of top store
              73                               MasterSmartGear Store
              142                    Shenzhen Ruifengze Technology Co., Ltd.
              29                                     xianchuca-0
              842                                      Yanoen
              790                                  East Golden Tire
              829                                     spraypaint
              784                                   Binglinghua®
              123                       Shantou Chenghai Jinying Toys Firm
              110                   Quanzhou Creational Accessories Co. Limited



DATED: December 5, 2018                             Respectfully submitted,

                                                    /s/ Keith A. Vogt
                                                    Keith A. Vogt (Bar No. 6207971)
                                                    Keith Vogt, Ltd.
                                                    1033 South Blvd., Suite 200
                                                    Oak Park, Illinois 60302
                                                    Telephone: 708-203-4787
                                                    E-mail: keith@vogtip.com

                                                    ATTORNEY FOR PLAINTIFFS


                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on December 5, 2018 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all
registered attorneys of record.
                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt, Esq.




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